       Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 1 of 27



                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) THE CHEROKEE NATION, et al.,

       Plaintiﬀs,

                v.                              No. CIV-19-1198-D
(1) J. KEVIN STITT,

       Defendant.


     INTERVENOR-PLAINTIFF WICHITA AND AFFILIATED TRIBES
     OPPOSITION TO MOTION TO CLAIRFY PARTIES' AUTHORITY
TO COMPLY WITH COURT'S MEDIATION ORDER (DOC. 131) AND MOTION
 TO HOLD MEDIATION IN ABEYANCE (DOC. 132) AND BRIEF IN SUPPORT


June 11, 2020                HOBBS, STRAUS, DEAN & WALKER, LLP

                                   William R. Norman, OBA No. 14919
                                       wnorman@hobbsstraus.com
                                   Kirke Kickingbird, OBA No. 5003
                                       kkickingbird@hobbsstraus.com
                                   Michael D. McMahan, OBA No. 17317
                                       mmcmahan@hobbsstraus.com
                                   W. Gregory Guedel, OBA No. 33317
                                       gguedel@hobbsstraus.com
                                   Zachary T. Stuart, OBA No. 32517
                                       zstuart@hobbsstraus.com
                                   101 Park Avenue, Suite 700
                                   Oklahoma City, Oklahoma 73102
                                   (405) 602-9425 telephone
                                   (405) 602-9426 facsimile

                             ATTORNEYS FOR INTERVENOR-PLAINTIFF
                             WICHITA AND AFFILIATED TRIBES
              Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 2 of 27




                         TABLE OF CONTENTS
SUMMARY OF MOTION .................................................................................................. 1

STATEMENT OF FACTS ................................................................................................... 1

ARGUMENTS AND AUTHORITIES................................................................................ 4

I.       Governor Stitt Does Not Have Standing to Raise �is Issue in �is
         Litigation. ................................................................................................................. 4
II.      �e Court Should Refrain From Deciding an Issue of State Law While
         �ere Is an Identical Action Pending in the Oklahoma Supreme Court................... 6
         A.        Oklahoma Law is Controlling. ...................................................................... 8
         B.        A Decision in �is Court Would Lead to Piecemeal Litigation. ................. 10
         C.        �e Supreme Court of Oklahoma Will Properly Adjudicate this Issue
                   and Protect the Rights of the Litigants. ....................................................... 12
         D.        A. Governor Stitt's Forum Shopping Should Not Be Rewarded................. 13
         E.        �e Underlying Legal Questions Were First Raised by the Oklahoma
                   Legislature, Which Now Seeks an Answer from the Oklahoma
                   Supreme Court ............................................................................................. 14
         F.        Governor Stitt's Motion to Clarify is a Vexatious and Reactive
                   Motion with No True Bearing on the Outcome of this Litigation............... 15
III.     Governor Stitt Does Not Need to be Granted Authority to "Enter Into"
         Compacts to Fully Participate in Mediation. .......................................................... 16
         A.        �e Governor Can Settle �ese Matters By Following Procedures in
                   Place Under Oklahoma Law. ....................................................................... 16
IV.      �e Governor Lacks Authority Under Oklahoma Law .......................................... 17
         A.        �ere are Two Permissible Ways for the Governor to Enter Into New
                   Gaming Compacts, and Neither Process Was Followed. ............................ 17
         B.        �e Governor's Reliance on a 2004 Attorney General Opinion is
                   Misplaced. ................................................................................................... 19
         C.        �e Governor's Obligation to Negotiate All Forms of Class III
                   Gaming Does Not Alter His Ability to "Enter Into" Compacts under
                   Oklahoma Law. ........................................................................................... 19
CONCLUSION ................................................................................................................. 20



                                                                  i
              Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 3 of 27




                                              TABLE OF AUTHORITIES
Cases
Allen v. Wright, 468 U.S. 737, 104 S.Ct. 3315, 82 L.Ed.2d 556 (1984) ............................. 4
Am. Int'l Underwriters (Philippines), Inc. v. Cont'l Ins. Co., 843 F.2d 1253 (9th Cir. 1988)
  ........................................................................................................................................ 10
Colorado River Water Conservation Dist. v. United States 424 US 800 (1976) ......... 6, 7, 8
D.A. Osguthorpe Family P'ship v. ASC Utah, Inc., 705 F.3d 1223 (10th Cir. 2013) .. 6, 7, 15
Deakins v. Monaghan, 484 U.S. 193, 199, 108 S.Ct. 523, 528, 98 L.Ed.2d 529 (1988) .... 4
Ethics Comm'n of State of Okla. v. Cullison, 1993 OK 37, 850 P.2d 1069......................... 12
Fent v. Contingency Rev. Bd., 2007 OK 27, ¶ 11, 163 P.3d 512,521 .............................. 12, 13
Fox v. Maulding, 16 F.3d 1079 (10th Cir. 1994) .................................................... 7, 8, 13, 14
Griﬃth v. Choctaw Casino of Pocola, 2009 OK 51, ¶ 12, 230 P.3d 488 ........................... 16
Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375 (1994) ........................................ 5
Los Angeles v. Lyons, 461 U.S. 95, 103 S.Ct. 1660, 75 L.Ed.2d 675 (1983) ..................... 4
Mashantucket Pequot Tribe v. State of Conn., 913 F.2d 1024 (2d Cir. 1990) ..................... 20
Moses H. Cone Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. 1 (1983) ....................... 14
Oklahoma Educ. Ass'n v. State ex rel. Oklahoma Legislature, 2007 OK 30, ¶ 20, 158 P.3d
  1058 ................................................................................................................................ 18
Preiser v. Newkirk, 422 U.S. 395, 95 S.Ct. 2330, 45 L.Ed.2d 272 (1975) ......................... 4
Pueblo of Santa Ana v. Kelly, 104 F.3d 1546 (10th Cir. 1997) .................................. 9, 10, 20
Respiratory Sleep Sols., Inc. v. Gruenberg, No. CIV-15-524-D, 2015 WL 6158869 (W.D.
  Okla. Oct. 19, 2015) .......................................................................................................... 7
Steﬀel v. Thompson, 415 U.S. 452, 94 S.Ct. 1209, 39 L.Ed.2d 505 (1974) ........................ 4
Treat v. Stitt, Case No. 118829 (Okla. Sup. Ct.) ................................................................... 3
Tulsa Cty. Deputy Sheriﬀ's Fraternal Order of Police, Lodge No. 188 v. Bd. of Cty.
  Comm'rs of Tulsa Cty., 2000 OK 2, ¶ 8, 995 P.2d 1124 .................................................. 18
United States v. City of Las Cruces, 289 F.3d 1170 (10th Cir. 2002) ................................. 11
Wyoming v. U.S. Dep't of Agric., 414 F.3d 1207 (10th Cir.2005) ...................................... 4
Statutes
25 U.S.C. § 2710 ................................................................................................................ 20
3A O.S. § 280.1 .................................................................................................................. 16
3A O.S. § 281 ..................................................................................................................... 16
74 O.S. § 1221 .............................................................................................................. 16, 18




                                                                     ii
             Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 4 of 27




Other Authorities
2004 OK AG 27 ................................................................................................................. 19
2020 OK AG 8 ..................................................................................................................... 3
Constitutional Provisions
Okla. Const. art 4, § 1. ....................................................................................................... 17
Okla. Const. art 5, § 36 ...................................................................................................... 18




                                                                iii
         Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 5 of 27



                                SUMMARY OF MOTION
       �e Court should abstain from issuing an opinion deciding state law issues raised in

Governor Stitt's MOTION TO CLARIFY THE PARTIES' AUTHORITY TO COMPLY WITH THE

COURT'S MEDIATION ORDER (Doc. 131) and its companion MOTION TO HOLD MEDIATION

IN ABEYANCE PENDING RESOLUTION OF MOTION TO CLARIFY                 (Doc. 132) (collectively,

"Motion to Clarify") because (1) the Governor does not have standing to request this

declaratory relief, and (2) there is a concurrent action in the Oklahoma Supreme Court set

to decide identical issues. Questions of the Governor's authority to bind the State to

compacts with the Otoe-Missouria Tribe and Comanche Nation are properly determined

under Oklahoma law, and Oklahoma's highest court should decide an issue that

fundamentally questions the constitutional balance of power between Oklahoma's

executive and legislative branches.

       In the alternative, the Court should deny the Governor's Motion because, despite his
protestations, the Governor lacks the authority under Oklahoma law to unilaterally enter

into gaming compacts on behalf of the State, and he does not need to be granted such

authority to eﬀectively settle the ultimate dispute in this case.
                                STATEMENT OF FACTS
       On February 10, 2020, this Court ordered the parties to participate in mediation in

an attempt to facilitate negotiations to resolve this dispute. Motion to Clarify at 1, 2. �e

Court's original Order contemplated that mediation would be complete, or substantially

complete by March 31, 2020. (Doc. 31 at 2.) �e Court's Order also stated "the parties
retain their respective rights to (a) fully inform and make recommendations to and within

their respective governments concerning this matter, inclusive of the mediation, and (b)

consult with State and Federal oﬃcials for purposes of successful completion of the
mediation." Id., at 3. On April 20, 2020, counsel for the parties submitted a joint proposal



                                               1
         Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 6 of 27




to the Court via electronic mail, stating "[n]otwithstanding the return to a litigation
calendar, the mediation in accord with the Court's current orders regarding mediation will

remain open and available to the parties until June 30, 2020."

       On April 21, 2020, Governor Stitt purported to enter into gaming compacts with the
Otoe-Missouria Tribe ("Otoe") and Comanche Nation ("Comanche"). �ese compacts

contemplated that the two (2) tribes could conduct gaming that is not permitted under the

State-Tribal Gaming Act, 3A O.S. §§ 261, et seq. ("STGA"). Namely, the compacts would

allow the Tribes to conduct house-banked table games and sports wagering, which are both

prohibited under Oklahoma law. 3A O.S. § 262(H). On the same day the Governor and

the Tribes signed the compacts, the Otoe, the Comanche, and the State ﬁled a joint motion
seeking leave to ﬁle stipulations of dismissal with prejudice (Doc. 120). In opposing the

Joint Motion, the Plaintiﬀ Tribes requested that this Court "make clear in its order that the

settlement has not been reviewed or approved by this Court, either to determine its legality
or for any other purpose." (Doc. 123 at 7). �e Court granted the dismissal with prejudice,

adding that it did so "without any review or approval of the settlement agreements (which

the movants have not requested) and without any judicial action on the merits of the

underlying claims." (Doc. 124 at 2). Further, the Court noted that the settlement and

dismissal "will have no legal eﬀect on the issues presented for decision in this case." Id.

On April 21, the Tribes and the Governor submitted the compacts to the Department of the
Interior ("DOI") for approval.

       Following Governor Stitt's purported ratiﬁcation of the compacts, the Oklahoma

Legislature certiﬁed a question to the Oklahoma Attorney General, asking him to issue an
opinion on the legality of the Governor's actions. �e Attorney General issued his opinion




                                             2
         Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 7 of 27




on May 5, 2020, ﬁnding Governor Stitt exceeded his authority under Oklahoma law to bind
the state to Tribal gaming compacts. 2020 OK AG 8.

       On the same day he issued his opinion, Attorney General Hunter sent a letter to DOI

requesting that the Secretary expressly disapprove of the compacts. �e Wichita and
Aﬃliated Tribes ("Wichita Tribe") also sent a letter to the DOI, asking the Secretary to

expressly disapprove of the compacts, as did the other Plaintiﬀ Tribes.

       Governor Stitt ﬁled this Motion to Clarify on May 28, 2020, seeking a declaration

from this Court that the Attorney General of Oklahoma is incorrect, and that he had actual

authority to bind the State to the compacts with the Otoe and Comanche. Shortly thereafter,

on June 4, 2020, the Oklahoma Legislature ﬁled a Petition for Declaratory Relief in the
Oklahoma Supreme Court (the "Legislative Action") seeking a judicial declaration on the

same claim Governor Stitt makes in his Motion. Treat v. Stitt, Case No. 118829 (Okla. Sup.

Ct.). �e Oklahoma Supreme Court ordered Governor Stitt to respond to the Legislature's
petition by June 25, 2020, and oral arguments will be heard in the case on July 1, 2020.

       On June 8, 2020, the Governor issued a press release advising that the proposed

compacts with the Otoe-Missouria Tribe and Comanche Nation had been "deemed

approved" 1 by DOI, and the two tribes could begin gaming pursuant to those compacts as

soon        as   DOI       published      notice     in     the      Federal      Register.

https://www.governor.ok.gov/articles/press_releases/state-tribes-new-gaming-compacts-
approved.




1
 Note that under federal regulations, compacts that are "deemed approved" when the DOI
does not issue a decision to approve them and, in such case, the compacts are approved
only to the extent consistent with federal law. 25 U.S.C. § 2710(d)(8)(C).

                                            3
          Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 8 of 27




                         ARGUMENTS AND AUTHORITIES
   I.      Governor Stitt Does Not Have Standing to Raise This Issue in This
           Litigation.
        Under Article III of the Constitution, federal courts may adjudicate only actual,
ongoing cases or controversies. Deakins v. Monaghan, 484 U.S. 193, 199, 108 S.Ct. 523,

528, 98 L.Ed.2d 529 (1988); Preiser v. Newkirk, 422 U.S. 395, 401, 95 S.Ct. 2330, 2334,

45 L.Ed.2d 272 (1975). To invoke the jurisdiction of a federal court, a litigant must have

suﬀered, or be threatened with, an actual injury traceable to the defendant and likely to be

redressed by a favorable judicial decision. Allen v. Wright, 468 U.S. 737, 750–751, 104

S.Ct. 3315, 3324, 82 L.Ed.2d 556 (1984); Valley Forge Christian College v. Americans

United for Separation of Church & State, Inc., 454 U.S. 464, 471–473, 102 S.Ct. 752, 757–

59, 70 L.Ed.2d 700 (1982).

        �is case-or-controversy requirement subsists through all stages of federal judicial

proceedings, trial and appellate. To sustain jurisdiction in a case, it is not enough that a

dispute was very much alive when suit was ﬁled, or when review was obtained in the Court

of Appeals. Deakins, supra, 484 U.S., at 199, 108 S.Ct., at 528; Steﬀel v. Thompson, 415
U.S. 452, 459, n. 10, 94 S.Ct. 1209, 1216, n. 10, 39 L.Ed.2d 505 (1974). �e parties must

continue to have a "'personal stake in the outcome'" of the lawsuit. Los Angeles v. Lyons,

461 U.S. 95, 101, 103 S.Ct. 1660, 1665, 75 L.Ed.2d 675 (1983) (quoting Baker v. Carr,

369 U.S. 186, 204, 82 S.Ct. 691, 703, 7 L.Ed.2d 663 (1962)). "'�e crucial question is

whether granting a present determination of the issues oﬀered will have some eﬀect

in the real world.'" Wyoming v. U.S. Dep't of Agric., 414 F.3d 1207, 1212 (10th Cir.2005)




                                             4
         Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 9 of 27




(emphasis added) (quoting Citizens for Responsible Gov't State Political Action Comm. v.
Davidson, 236 F.3d 1174, 1182 (10th Cir.2000)).

       Here, Governor Stitt has essentially asked this Court to grant declaratory relief

endorsing the compacts with the Otoe and Comanche without (1) identifying an injury in
fact, (2) connecting such injury to the Tribal Plaintiﬀs in this action, or (3) demonstrating

how a favorable ruling from this Court would redress his purported injury.

       Unless the court has expressly retained jurisdiction to enforce a settlement

agreement in its order dismissing the action, an action to enforce the agreement is not

within the court's ancillary jurisdiction. Kokkonen v. Guardian Life Ins. Co. of Am., 511

U.S. 375, 382 (1994). When Governor Stitt and the Otoe and Comanche ﬁled their joint
motion seeking leave to ﬁle stipulations of dismissal with prejudice, they did not ask this

Court to retain jurisdiction over their settlement agreements. (Doc. 120.) Further, in

opposing the joint motion, the Wichita Tribe and other Tribal Plaintiﬀs explicitly asked this
Court not to endorse the legality of those agreements on either state or federal law grounds.

(Doc. 120.) In its order granting leave to ﬁle stipulations of dismissal, the Court speciﬁcally

noted that the dismissal was "without any review or approval of the settlement agreements

(which the movants have not requested) and without any judicial action on the merits of

the underlying claims." (Doc. 124 at 2). Further, the Court noted that the settlement and

dismissal "will have no legal eﬀect on the issues presented for decision in this case." Id.
In dismissing the claims with prejudice, this Court relinquished its jurisdiction over the

controversy between the State and the Otoe and the Comanche, and this Court no longer

has jurisdiction to enforce the settlement agreement between the parties.
       Governor Stitt now comes to this Court seeking declaratory relief endorsing the

compacts he claims to have entered with the Otoe and Comanche. �e Governor has



                                              5
          Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 10 of 27




identiﬁed no injury that would result without this Court's approval of his actions. As further
outlined below, the Governor does not need the authority to unilaterally enter into compacts

to successfully participate in mediation. Finally, a ruling from this Court would have no

substantial eﬀect on the outcome of this ongoing litigation. Governor Stitt's Motion does
nothing but ask this Court to retroactively endorse these compacts long after the Court

relinquished its jurisdiction over the settlement of the dispute between the Governor and

the Otoe and Comanche. Accordingly, Governor Stitt does not have standing to bring this

action for declaratory relief, and his Motion should be denied.
   II.      The Court Should Refrain From Deciding an Issue of State Law While
            There Is an Identical Action Pending in the Oklahoma Supreme Court.
         �e Court should refrain from ruling on the underlying claims arising in Governor

Stitt's Motion because it presents a serious question of Oklahoma law that is currently

before the Oklahoma Supreme Court. "It is well-established that federal courts have the

power to refrain from hearing, among other things, cases which are duplicative of a pending

state proceeding. �is latter principle – the avoidance of duplicative litigation – is at the
core of the Colorado River doctrine." D.A. Osguthorpe Family P'ship v. ASC Utah, Inc.,

705 F.3d 1223, 1233 (10th Cir. 2013)

         �e Colorado River doctrine is the principle that federal courts have discretionary

authority to decline to exercise jurisdiction, and to abstain from hearing a matter, in light

of parallel state court litigation. See Colorado River Water Conservation Dist. v. United

States 424 US 800, 814 (1976). Application of the Colorado River doctrine is "appropriate

where there have been presented diﬃcult questions of state law bearing on policy problems

of substantial public import whose importance transcends the result in the case then at bar."

Id. at 814. "It is enough that exercise of federal review of the question in a case and in




                                              6
        Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 11 of 27




similar cases would be disruptive of state eﬀorts to establish a coherent policy with respect
to a matter of substantial public concern." Id.

       �e Colorado River doctrine is particularly applicable in this case. �e Governor

and the Oklahoma Legislature are currently litigating in Oklahoma's highest court to
resolve the question of the Governor's authority to unilaterally enter into compacts on the

State's behalf that permit forms of gaming currently illegal under Oklahoma law. �e

Oklahoma Supreme Court litigation squarely addresses issues that are identical to issues

raised in the Governor's Motion to Clarify, namely, whether the Governor has unilateral

authority to enter into compacts that permit gaming that is currently illegal under Oklahoma

law. �us, the Legislature's Action presents "difficult questions of state law bearing on
policy problems of substantial import," and the resolution of those questions "transcends

the result in the case [now] at bar." Id. at 814

       In making the decision to refrain from hearing an issue, the Tenth Circuit has
recognized as many as eight (8) factors the Court should consider: (1) whether one (1) of

the two (2) courts has exercised jurisdiction over property, (2) the convenience of the

federal forum; (3) the desire to avoid piecemeal litigation; (4) the order in which the forums

obtained jurisdiction; (5) whether state or federal law will control the decision; (6) whether

the state court proceedings adequately protect the litigants' rights; (7) the desire to avoid

forum-shopping; and (8) the possibly vexatious or reactive nature of either the state or
federal suit. See Fox v. Maulding, 16 F.3d 1079, 1082 (10th Cir. 1994); D.A. Osguthorpe

Family, 705 F.3d at 1233; see also Respiratory Sleep Sols., Inc. v. Gruenberg, No. CIV-15-

524-D, 2015 WL 6158869, at *3 (W.D. Okla. Oct. 19, 2015).




                                              7
        Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 12 of 27




       "No one factor is necessarily determinative; a carefully considered judgment taking
into account both the obligation to exercise jurisdiction and the combination of factors

counselling against that exercise is required." Colorado River, 424 US at 818-819.

       Because several of these factors are not applicable to the issue at hand (namely
whether the court has assumed jurisdiction over any res or property and the relative

convenience of the forums), the Court should focus on those factors that bear substantially

on the Motion before this Court and the case pending before the Oklahoma Supreme Court.

D.A. Osguthorpe Family P'ship, 705 F.3d at 1234 ("[W]e ﬁnd that the ﬁrst of the Colorado

River factors does not apply to this case.")

       On balance, these factors support this Court's abstention. First, Oklahoma, not
federal, law will provide the rule of decision on this issue. Second, the Court's abstention

on this important question of Oklahoma law would prevent piecemeal litigation among the

several parties not involved in this litigation whose rights will be altered by a decision on
the merits. �ird, the legal controversy between the Governor and the Legislature began

before Governor Stitt ﬁled his Motion to Clarify. Fourth, the Oklahoma Supreme Court is

well equipped to adequately adjudicate this dispute and protect the parties' rights. Fifth,

the Governor's decision to ﬁle this Motion is based heavily on forum-shopping. Finally,

the Governor's Motion is purely reactive, and is aimed only at gaining political and strategic

advantage.
       A. Oklahoma Law is Controlling.
       �e ﬁrst issue we address is whether state or federal law will control the controversy.

Fox, 16 F.3d at 1082. �e Governor's underlying claim in his Motion to Clarify is that he

has unilateral authority under Oklahoma law to negotiate and "enter into" compacts with

Tribes that bind the State to allow gaming currently prohibited under state law. �is is

undoubtedly a question of Oklahoma, not federal, law. "State law must determine whether


                                               8
        Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 13 of 27




a state has validly bound itself to a compact." Pueblo of Santa Ana v. Kelly, 104 F.3d 1546,
1557 (10th Cir. 1997) Further, the question of whether a state government validly entered

into a compact has been litigated extensively in state courts. 2

       �e only time the Tenth Circuit has decided whether a state governor properly
entered into a gaming compact was in Pueblo of Santa Ana v. Kelly, supra. In that case,

the Governor of New Mexico purported to bind the state to compacts with several tribes

that allowed for gaming that was not permitted under New Mexico law. Pueblo of Santa
Ana, 104 F.3d at 1552. After the New Mexico governor signed the compacts, members of

the New Mexico Legislature challenged the validity of the compacts in the New Mexico

Supreme Court. Id. at 1550.

       �e Supreme Court of New Mexico, after conducting a "thorough and careful

analysis of state law," held that the governor did not have the authority to "enter into" the

compacts with the tribes, meaning they were invalid under the Indian Gaming Regulatory

Act ("IGRA"). Id. at 1551 �e tribes challenged this decision in federal court, arguing that

2
  See Florida House of Representatives v. Crist, 999 So. 2d 601, 611–16 (Fla. 2008)
(Governor lacked authority to enter into compacts for forms of gambling otherwise
prohibited under state law.); Taxpayers of Michigan Against Casinos v. State of Michigan,
478 Mich. 99, 732 N.W.2d 487, 492–94 (2007) (rejecting facial and as-applied separation
of powers challenge to legislative approval of provision that authorized governor to enter
into compact amendments); Panzer v. Doyle, 2004 WI 52, 271 Wis. 2d 295, 680 N.W.2d
666, 670 (2004) (abrogated on other grounds by Dairyland Greyhound Park, Inc. v. Doyle,
2006 WI 107, 295 Wis. 2d 1, 719 N.W.2d 408 (2006)); Huron Group, Inc. v. Pataki, 5
Misc. 3d 648, 785 N.Y.S.2d 827, 852–56 (Sup 2004), judgment aff'd, 23 A.D.3d 1051, 803
N.Y.S.2d 465 (4th Dep't 2005) (Although governor had statutory authority to execute
compacts with tribes, an "alternate site" provision was beyond such authorization and thus
severed.); Saratoga County Chamber of Commerce, Inc. v. Pataki, 100 N.Y.2d 801, 766
N.Y.S.2d 654, 798 N.E.2d 1047, 1059–61 (2003) (finding no authority for governor to
enter into compact binding on state); Narragansett Indian Tribe of Rhode Island v. State,
667 A.2d 280, 282 (R.I. 1995); State ex rel. Clark v. Johnson, 1995-NMSC-048, 120 N.M.
562, 904 P.2d 11, 17 (1995); State ex rel. Stephan v. Finney, 251 Kan. 559, 836 P.2d 1169,
1178–84 (1992); Sears v. Hull, 192 Ariz. 65, 961 P.2d 1013, 1020 (1998) (citizens lacked
standing to challenge governor's authority to enter into compact).

                                              9
         Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 14 of 27




Secretarial approval of the compacts was enough to make the compacts legal, permitting
the tribes to continue Class III gaming. Id. at 1548.

       �e Tenth Circuit held that for a compact to be valid, it must be properly "entered

into" under state law and "in eﬀect" through approval by the Secretary. Id. at 1553. A
compact cannot be "in eﬀect" under federal law through secretarial approval if it is not

legally "entered into" on behalf of the state. Id. at 1557.

       �e Tenth Circuit was presented with a decision similar to the one arising here –

whether to conduct an independent review of the New Mexico law, giving signiﬁcant

deference to the state court, or ﬁnd that the New Mexico Supreme Court's decision bound

the court on the question of state law. �e court declined to decide which course of action
was proper, reasoning that its decision would be the same in either case. Id. at 1558.

       Here, much like in Pueblo of Santa Ana, Governor Stitt asks this Court to issue an

opinion that grants him authority to "enter into" compacts on behalf of the State despite
clear statutory barriers to that authority. However, unlike that case, this Court does not

have the beneﬁt of a state court's "thorough and careful analysis of state law" that would

either bind or signiﬁcantly inform the Court's decision. Id. at 1551.

       �e Legislature's petition in the Oklahoma Supreme Court and the motion before

this Court involve identical issues of state law, and federal law would play no role in

deciding the extent of the Governor's authority. Accordingly, this Court should refrain from
issuing a judgment on this issue and defer to the Oklahoma Supreme Court to decide

important issues of Oklahoma law.
       B. A Decision in This Court Would Lead to Piecemeal Litigation.
       Piecemeal litigation occurs when diﬀerent tribunals consider the same issue, thereby

duplicating eﬀorts and possibly reaching diﬀerent results.         Am. Int'l Underwriters

(Philippines), Inc. v. Cont'l Ins. Co., 843 F.2d 1253, 1258 (9th Cir. 1988). Where the issue


                                              10
         Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 15 of 27




in the litigation is not necessarily binding on all aﬀected parties, the prospect of piecemeal
litigation is high and cuts in favor of abstention. United States v. City of Las Cruces, 289

F.3d 1170, 1187 (10th Cir. 2002) (holding the district court properly exercised its discretion

in declining jurisdiction where the claims would be "better settled in a uniﬁed proceeding"
because the court's decision would not be "binding on parties not joined to the action.")

       �e issues presented in the Governor's motion and the case pending before the

Oklahoma Supreme Court are identical. Importantly, the Oklahoma Legislature, the Otoe,

the Comanche, and the United States Government all have substantial interests in the

ultimate resolution of the question of the Governor's authority to enter into these compacts.

Yet none of these entities is a party to this litigation. Accordingly, there is a high likelihood
that a decision on the merits of Governor Stitt's motion would lead to piecemeal litigation

concerning the Governor's authority, the legality of the Otoe and Comanche compacts, and

the DOI's decision not to disapprove the compacts. Indeed, Governor Stitt's ﬁling of the
Motion to Clarify has already led to piecemeal litigation of these issues. �is Court's

abstention can limit the waste of judicial resources and possible confusion that could arise

from conﬂicting decisions.

       Should this Court issue an opinion on the Governor's powers that conﬂicts with the

impending decision of the Oklahoma Supreme Court, it would only serve to confuse and

complicate ongoing and future proceedings. �is is especially relevant where the parties
who are most directly impacted by the Governor's claims are either no longer parties to this

litigation or were never a part of this case to begin with. To avoid this piecemeal litigation,

the Court should refrain from passing on this issue.




                                               11
         Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 16 of 27



       C. The Supreme Court of Oklahoma Will Properly Adjudicate this Issue and
          Protect the Rights of the Litigants.
       �e Oklahoma Supreme Court has jurisdiction to enter declaratory relief "(1) in
matters of public interest where there is (2) an element of urgency or pressing need for an

early decision." Fent v. Contingency Rev. Bd., 2007 OK 27, ¶ 11, 163 P.3d 512,521

("Jurisdiction to grant declaratory relief may be assumed (1) in matters of public interest

where there is (2) an element of urgency or pressing need for an early decision.").

Declaratory relief is proper where there are "intolerable conﬂicts" that "amount to a

gridlock" between "co-ordinate branches of state government." Ethics Comm'n of State of

Okla. v. Cullison, 1993 OK 37, 850 P.2d 1069, 1074.

       As outlined above, the issue of whether a state has properly entered into a Tribal

gaming compact is a question that has been extensively litigated in state courts. Further,

the Oklahoma Supreme Court has proper jurisdiction over this matter, as it involves a

serious dispute between Oklahoma's co-equal branches of government. �ere is no reason

to doubt that the Oklahoma Supreme Court, which is constitutionally tasked with

interpreting the nuances of Oklahoma's system of checks and balances, is fully capable of

deciding this issue. �e Governor has no reason to argue that his interests will not be

seriously considered and protected in the Oklahoma Supreme Court. Conversely, the
Oklahoma Legislature has a signiﬁcant interest in quelling the Governor's "unilateral power

grab," but it is unable to participate in this litigation. �e Oklahoma Supreme Court's

expedited review of the Legislature's Action makes clear that it is taking this issue seriously.

Accordingly, this issue should be heard solely in the Oklahoma Supreme Court, where both

parties' interests and arguments can be fully weighed.




                                              12
         Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 17 of 27



       D. A. Governor Stitt's Forum Shopping Should Not Be Rewarded
       �e desire to avoid forum shopping is properly considered in applying the Colorado

River doctrine and cuts in favor of the district court refraining from exercising jurisdiction.

Fox, 16 F.3d at 1082.

       On May 5, 2020, the Oklahoma Attorney General issued an opinion ﬁnding that the

Governor did not have authority under Oklahoma law to bind the state to compacts with

the Otoe and Comanche. Following the issuance of that opinion, the Governor could have
petitioned the Oklahoma Supreme Court for declaratory relief to determine whether the

compacts were proper under Oklahoma law. Fent, 2007 OK 27, ¶ 11, 163 P.3d at 521

("Jurisdiction to grant declaratory relief may be assumed (1) in matters of public interest

where there is (2) an element of urgency or pressing need for an early decision.") Rather

than seek such relief in the court that is traditionally involved in resolving these types of

disputes, Governor Stitt ﬁled this Motion asking for an extension of his executive powers
through declaratory judgment. �is was presumably an attempt to exclude the Oklahoma

Legislature from proceedings that might check his unilateral assertion of authority.

       Governor Stitt's Motion to Clarify is not necessary to the ultimate resolution of this

case, i.e. whether the compacts automatically renewed on January 1, 2020. Its only purpose

would be to endorse settlements with parties who have already been dismissed from this

action. �e Governor hopes to aﬀord himself the beneﬁt of a federal forum to address

issues of state law with the sole intent of gaining a strategic advantage and silencing the

branches of Oklahoma government entrusted with checks on his power. 3 �is tactic should


3
  The Governor also used his Motion to Clarify as a vehicle to place additional exhibits and
argument before the Court regarding the renewal issue, taking a "second bite at the apple."
In doing so, he brazenly submitted only portions of correspondence he desired the Court to
see, and jettisoned attached and corresponding documents to those submissions to avoid
the Court seeing the correspondence in their entirety, including in particular, a devastating

                                              13
           Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 18 of 27




not be rewarded by a decision on the merits, especially where a ruling on the Governor's
powers will do nothing to resolve the issues in this case.
       E. The Underlying Legal Questions Were First Raised by the Oklahoma
          Legislature, Which Now Seeks an Answer from the Oklahoma Supreme
          Court
       �e order in which the forums obtained jurisdiction is an important consideration in

applying the Colorado River doctrine. Fox, 16 F.3d at 1082. �e question is not which

proceeding started ﬁrst, but rather which proceeding has made more progress toward its

conclusion. Moses H. Cone Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 21 (1983)
("priority should not be measured exclusively by which complaint was ﬁled ﬁrst, but rather

in terms of how much progress has been made in the two actions").

       After Governor Stitt and the two (2) tribes executed their compacts and sent them
to the DOI for approval, the Oklahoma Legislature certiﬁed a question to the Oklahoma

Attorney General, asking him to issue an opinion on the legality of the Governor's actions.

�e Attorney General issued his opinion on May 5, 2020. Governor Stitt ﬁled this motion

weeks later on May 28, 2020. �e Legislature then initiated its action in the Oklahoma

Supreme Court on June 4, 2020. �e Oklahoma Supreme Court ordered Governor Stitt to

respond to the Legislature's Petition by June 25, and oral arguments are scheduled for July
1, 2020.

       While Governor Stitt may have ﬁled the Motion to Clarify before the Legislature

initiated its action, the underlying dispute can rightfully be characterized as beginning with
the Legislature's request to the Attorney General in late April 2020, a full month before the

Governor ﬁled his Motion. Additionally, the Oklahoma Supreme Court's accelerated

brieﬁng schedule indicates the Court is intent on resolving this issue in an expeditious

compact comparison illustrating the many legal problems with the Otoe and Comanche
agreements. Attached hereto as Exhibit 1 is a true and correct copy of the correspondence.

                                             14
         Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 19 of 27




manner. Indeed, the day after this Court's mediation order expires on June 30, 2020, the
Oklahoma Supreme Court will hear oral arguments to decide the case.

       Conversely, the Motion before this Court is meant only to clarify a mediation order

that will expire in a matter of weeks. Judicial, Tribal, and State resources should not be
wasted on answering a question of Oklahoma law meant only to clarify a mediation order,

where there is an important and expedient Oklahoma Supreme Court proceeding ready to

resolve this issue.
       F. Governor Stitt's Motion to Clarify is a Vexatious and Reactive Motion with
          No True Bearing on the Outcome of this Litigation.
       The vexatious or reactive nature of a suit is properly considered in determining

whether to abstain from issuing a decision. D.A. Osguthorpe Family, 705 F.3d at 1233. A

vexatious proceeding is defined as one that is "instituted maliciously and without good
grounds, meant to create trouble and expense for the party being sued." VEXATIOUS

SUIT, Black's Law Dictionary (11th ed. 2019).

       The Governor's Motion to Clarify presents no issues that have any bearing on the

ultimate result of this litigation, in which the underlying issue is whether the Tribal Gaming

Compacts between the plaintiﬀ tribes and the State automatically renewed on January 1,

2020. The Governor filed the Motion to Clarify purely as a reaction to the Attorney
General's Opinion issued on May 5, 2020, hoping to inject this issue into this lawsuit solely

for political grandstanding and strategic advantage in his impending dispute with the

Oklahoma Legislature. This Court will ultimately be able to decide the underlying issue
in this case without deciding the outer bounds of the Governor's authority, and the Motion

to Clarify serves purely to distract from that decision. Accordingly, the Court should

abstain from deciding the Governor's Motion.




                                             15
            Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 20 of 27



   III.      Governor Stitt Does Not Need to be Granted Authority to "Enter Into"
             Compacts to Fully Participate in Mediation.
       Governor Stitt's Motion presents a false choice for the Court – either grant him the
power to enter into compacts with Tribes that exceed his authority under Oklahoma law, or

render the Court's mediation order meaningless. �e premise is ﬂatly false and should be

rejected.
       A. The Governor Can Settle These Matters By Following Procedures in Place
          Under Oklahoma Law.
       �e Governor can enter into new compacts in two (2) ways: (1) through the Model

Gaming Compact or (2) through 74 O.S. § 1221 and after approval by the Joint Committee

on State-Tribal Relations ("Joint Committee").

       In the context of the current model Compacts, new games can only be approved
pursuant to Part 3.5 [e.g., 3A O.S. § 281, Part 3, ¶ 5], and none of the methods of game

approval place the authority with the Governor. In the past, these authorizations have come

about through legislation. For example, in 2018, the Oklahoma Legislature authorized an

amendment to the existing compacts under which tribes could choose to oﬀer non-house

banked table games utilizing balls and dice. �e amendment took the form of legislation

passed by the Oklahoma Legislature and signed by Oklahoma's Governor. 3A O.S. § 280.1.
       Prior to the enactment of the STGA, the Oklahoma Legislature set forth a procedure

for Oklahoma governors to enter into compacts with Tribes. Under 74 O.S. § 1221, the

Governor is authorized to "negotiate and enter into cooperative agreements on behalf of
[Oklahoma] with federally recognized Indian Tribal Governments within [Oklahoma] to

address issues of mutual interest. Except as otherwise provided by this subsection, such

agreements shall become eﬀective upon approval by the Joint Committee on State-Tribal
Relations." 74 O.S. § 1221(C) (emphasis added); see also Griﬃth v. Choctaw Casino of

Pocola, 2009 OK 51, ¶ 12, 230 P.3d 488, 492. Accordingly, there are multiple ways for the


                                            16
           Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 21 of 27




Governor to eﬀect a settlement in this case that would ultimately become valid and
enforceable under both state and federal law.

          Governor Stitt makes no argument in his Motion to Clarify that he cannot comply

with these procedures while participating in good faith in mediation. Indeed, this Court
clearly foresaw that possible resolution of this dispute would involve consultation with the

parties' respective governments. See Doc. 31, at 2 ("the parties retain their respective rights

to (a) fully inform and make recommendations to and within their respective governments

concerning this matter, inclusive of the mediation, and (b) consult with State and Federal

oﬃcials for purposes of successful completion of the mediation."). �e Governor's

unwillingness to follow the proper procedures under Oklahoma law does not render this
Court's mediation order meaningless. �ese procedures merely limit his ability to agree to

terms he wants without the amendment of the Model Compact or subsequent approval by

the Joint Committee on State-Tribal Relations. �at the Governor does not want to settle
these matters in a way consistent with Oklahoma law 4 by consulting with the proper entities

within his own government is not a suﬃcient basis to grant the Governor unilateral

authority that clearly conﬂicts with Oklahoma law.
    IV.      The Governor Lacks Authority Under Oklahoma Law
          A. There are Two (2) Permissible Ways for the Governor to Enter Into New
             Gaming Compacts, and Neither Process Was Followed.
          Under Oklahoma's Constitution, the legislative power is vested in the Legislature.

Okla. Const. art 4, § 1. �e Legislature's legislative authority encompasses "all rightful

subjects of legislation."
          �e authority of the Legislature shall extend to all rightful subjects of
          legislation, and any speciﬁc grant of authority in this Constitution, upon any

4
 The Governor's conduct in this regard is indicative of his conduct concerning Compact
renewal and similar issues. He has repeatedly demonstrated comfort in ignoring clear law
– or exploring the fringe of what is legal – to get what he wants.

                                               17
         Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 22 of 27



       subject whatsoever, shall not work a restriction, limitation, or exclusion of
       such authority upon the same or any other subject or subjects whatsoever.
Okla. Const. art 5, § 36; Oklahoma Educ. Ass'n v. State ex rel. Oklahoma Legislature, 2007

OK 30, ¶ 20, 158 P.3d 1058, 1065 ("[T]he state's policy-making power is vested exclusively

in the Legislature."); Tulsa Cty. Deputy Sheriﬀ's Fraternal Order of Police, Lodge No. 188

v. Bd. of Cty. Comm'rs of Tulsa Cty., 2000 OK 2, ¶ 8, 995 P.2d 1124, 1128. Because of

Oklahoma's constitutional separation of powers, the Governor may not exercise legislative

powers to amend statutes or otherwise change state law.

       In the context of the current model Compacts, new games can only be approved

pursuant to Part 3.5, and none of the methods of game approval places the authority with

the Governor. As outlined above, prior authorizations have come about through legislation.

       Alternatively, the Governor can enter into new compacts through approval by the

Joint Committee on State-Tribal Relations. As outlined above, the Oklahoma Legislature

set forth a procedure for Oklahoma governors to enter into compacts with Tribes. Under

74 O.S. § 1221, the Governor is authorized to "negotiate and enter into cooperative

agreements on behalf of [Oklahoma] with federally recognized Indian Tribal Governments

within [Oklahoma] to address issues of mutual interest. Except as otherwise provided by

this subsection, such agreements shall become eﬀective upon approval by the Joint
Committee on State-Tribal Relations." 74 O.S. § 1221(C). �is process was used

extensively before the enactment of the STGA, and continues to be a viable option should

it be necessary.
       Notably, where the Governor cites 74 O.S. § 1221 in his Motion to Clarify to support

his purported authority to enter into the Otoe and Comanche compacts, he conveniently

omits the second sentence, which makes clear the necessity of approval by the Joint
Committee on State-Tribal relations. Motion to Clarify at pp. 9-10.



                                            18
        Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 23 of 27




       �e Governor could have negotiated the Otoe and Comanche agreements pursuant
to either method in place for establishing new compacts. He did neither and now asks this

Court to retroactively endorse his actions by impermissibly expanding his authority under

Oklahoma law. �e Court should deny this request.
       B. The Governor's Reliance on a 2004 Attorney General Opinion is Misplaced.
       In his Motion, the Governor relies heavily on Oklahoma Attorney General Opinion

2004-27 to argue that legislative approval of agreements negotiated with Indian Tribes
would violate the separation of powers provision of the Oklahoma Constitution. 2004 OK

AG 27; Motion to Clarify at p. 10. �e Governor's reliance on this Opinion is misplaced.

While the Opinion does state that approval from the entire Legislature could violate

separation of powers, it does not ﬁnd that approval by the Joint Committee would do so.

Indeed, the Attorney General did not address or attempt to answer that question.

       Footnote 3 to Oklahoma Attorney General Opinion 2004-27 states that, "Of course,

any agreement negotiated by the Governor must conform to the public policy enacted into

law by the Legislature, as the role of the Legislative Branch is to establish public policy,

and the role of the Executive Branch is to execute that policy." �us, to the extent

Oklahoma Attorney General Opinion 2004-27 bears on the issues raised by the Governor's

Motion to Clarify, it provides him no support. Further, any perceived conﬂict between two

(2) Oklahoma Attorney General Opinions should be resolved in the Oklahoma Supreme
Court, which is the judicial body most experienced in parsing unique issues of Oklahoma

law and allocating authority between the Executive and Legislative branches.
       C. The Governor's Obligation to Negotiate All Forms of Class III Gaming Does
          Not Alter His Ability to "Enter Into" Compacts under Oklahoma Law.
       Much of Governor Stitt's Motion relies on the argument that because he must

negotiate to permit games not currently permitted under Oklahoma law, he must then have



                                            19
        Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 24 of 27




the ability to enter into such compacts under IGRA. Motion to Clarify at 20-25. �is is
ﬂatly incorrect. While the Wichita Tribe agrees with the Governor's endorsement of the

categorical approach to 25 U.S.C. § 2710(d)(1)(B), nothing within that section nor the

categorical approach grants the Governor additional powers to enter into agreements with
Tribes outside those prescribed by Oklahoma law.

       �e categorical approach is concerned primarily with the subject matter of the

negotiations, speciﬁcally the scope of games on which the state is required to negotiate.

Mashantucket Pequot Tribe v. State of Conn., 913 F.2d 1024, 1031 (2d Cir. 1990). However,

once the negotiations have concluded, the State must validly "enter into" the compact under

State law. Pueblo of Santa, 104 F.3d at 1557. Whether the state has validly entered into a
compact is not addressed in IGRA, and is a question reserved for state law. Id. ("State law

must determine whether a state has validly bound itself to a compact."). Indeed, "IGRA

says nothing speciﬁc about how [a court] determine[s] whether a state and tribe have
entered into a valid compact." Id.

       Accordingly, regardless of the Governor's interpretation of his obligations under

IGRA, federal law is inapplicable to decide whether the Governor can properly give eﬀect

to those negotiations. A ruling that the Governor's obligations to negotiate over certain

games usurps the State's ability to set parameters on the manner in which it enters into

gaming compacts would directly conﬂict with well-established Tenth Circuit law.
                                     CONCLUSION
      �e Court should abstain from issuing an opinion deciding state law issues raised in

Governor Stitt's Motions (Docs. 131 and 132) and permit the Oklahoma Supreme Court to

answer this question of ﬁrst impression. Questions of the Governor's authority to bind the

State to compacts with the Otoe and Comanche are properly determined under state law,




                                            20
         Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 25 of 27




and Oklahoma's highest court should be given an opportunity to decide an issue that aﬀects
the State's constitutional balance of power between the Executive and Legislative branches.

       In the alternative, the Court should deny the Governor's Motions (Docs. 131 and 132)

because the Governor does not have the authority to unilaterally enter into gaming
compacts on behalf of the state, and he does not need to be granted such authority to

eﬀectively settle the ultimate dispute in this case.

                                              Respectfully submitted,

 June 11, 2020                                HOBBS, STRAUS, DEAN & WALKER, LLP


                                              By: /s/ Michael D. McMahan
                                                  William R. Norman, OBA No. 14919
                                                      wnorman@hobbsstraus.com
                                                  Kirke Kickingbird, OBA No. 5003
                                                      kkickingbird@hobbsstraus.com
                                                  Michael D. McMahan, OBA No. 17317
                                                      mmcmahan@hobbsstraus.com
                                                  W. Gregory Guedel, OBA No. 33317
                                                      gguedel@hobbsstraus.com
                                                  Zachary T. Stuart, OBA No. 32517
                                                      zstuart@hobbsstraus.com
                                                  101 Park Avenue, Suite 700
                                                  Oklahoma City, Oklahoma 73102
                                                  (405) 602-9425 telephone
                                                  (405) 602-9426 facsimile

                                              ATTORNEYS FOR INTERVENOR-PLAINTIFF
                                              WICHITA AND AFFILIATED TRIBES




                                              21
        Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 26 of 27



                            CERTIFICATE OF SERVICE

I hereby certify that on June 11, 2020, a true and correct copy of the above and foregoing
with exhibits (if applicable) was served on the following via the Court's ECF system:

 Attorneys for Plaintiﬀs                      Attorneys for Defendant
 Douglas Endreson                             Daniel Webber, Jr.
 dendreson@sonosky.com                        dwebber@ryanwhaley.com

 Robert Henry                                 Jeﬀrey Cartmell
 rh@rhhenrylaw.com                            jeﬀrey.cartmell@gov.ok.gov

 Sara Hill                                    Mark Burget
 sara-hill@cherokee.org                       mark.burget@gov.ok.gov

 Frank Holleman                               Matthew Felty
 fholleman@sonosky.com                        mkfelty@lytlesoule.com

 Stephen Greetham                             Matthew Kane
 stephen.greetham@chickasaw.net               mkane@ryanwhaley.com

 Bradley Mallett                              Patrick Pearce, Jr.
 bmallett@choctawnation.org                   rpearce@ryanwhaley.com

                                              Phillip Whaley
                                              Pwhaley@ryanwhaley.com

                                              Steven Mullins
                                              mullins@lytlesoule.com


 Attorneys for Intervenor-Plaintiﬀs
 George Wright                                Roger Wiley
 george.wright@potawatomi.org                 rwiley@mcnag.com

 Gregory Quinlan                              Leslie Taylor
 gquinlan@potawatomi.org                      leslietaylorlaw@gmail.com

 Charles Birnie                               Robert Rosette
 abirnie@cwlaw.com                            rosette@rosettelaw.com

 Robert Carter                                Jason Aamodt
 dcarter@cwlaw.com                            jason@iaelaw.com


                                           22
      Case 5:19-cv-01198-D Document 139 Filed 06/11/20 Page 27 of 27




Stephen Ward                         Matthew Alison
sward@cwlaw.com                      matthew@iaelaw.com

Stuart Campbell                      Dallas Dale Strimple
scampbell@dsda.com                   dallas@aamodt.biz

Brett Stavin                         Kyle Haskins
bstavin@rosettelaw.com               khaskins@mcnag.com

Kaylee Davis-Maddy
kmaddy@dsda.com

                                     /s/ Michael D. McMahan
                                     Michael D. McMahan




                                   23
